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                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH


 BRIDGER LEE JENSEN, SINGULARISM,
 and PSYCHE HEALING AND BRIDGING,                ORDER GRANTING TEMPORARY
                                                 RESTRAINING ORDER
       Plaintiffs,

 v.                                              Case No. 2:24-cv-00887-JNP-CMR

 UTAH COUNTY, PROVO CITY, JEFFREY                District Judge Jill N. Parrish
 GRAY, TROY BEEBE, BRIAN WOLKEN,
 and JACKSON JULIAN,

       Defendants.



       Plaintiffs are members and affiliates of Singularism, a new religion founded in 2023.

Singularism uses psylocibin as a sacrament in its ceremonies conducted at its center in Provo,

Utah. Psylocibin is a Schedule I controlled substance banned under the Utah Controlled Substances

Act (“CSA”) with narrow exceptions, UTAH CODE ANN. § 58-37-1 et seq.

       On November 11, 2024, Provo City law enforcement executed a search warrant at

Singularism’s address and seized psylocibin mushrooms and records considered by Singularism

to be sacred scripture. Plaintiffs then filed for a temporary restraining order and preliminary

injunction, invoking the Free Exercise Clause of the First Amendment to the U.S. Constitution,

the free exercise clause of the Utah constitution, and Utah’s Religious Freedom Restoration Act

(“RFRA”), UTAH CODE ANN. § 63G-33-201. Defendants removed the action to federal court.

       Under federal law, a plaintiff moving for a temporary restraining order or preliminary

injunction must show that (1) he has a substantial likelihood of success on the merits; (2) he is
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likely to suffer irreparable harm absent the preliminary relief; (3) the threatened harm outweighs

the harm the preliminary relief would pose to the opposing party; and (4) the preliminary relief

would not adversely affect the public interest. Rocky Mountain Gun Owners v. Polis, 121 F.4th

96, 112 (10th Cir. 2024). When the government is the opposing party, the third and fourth factors

merge. Id.

       Based on the materials filed with the briefing and the testimony the court heard on

December 13, the court concludes that Plaintiffs have shown a likelihood of success on their claim

under the Utah RFRA. Under that law, once a plaintiff shows a substantial burden on his free

exercise of religion, the government must show that the challenged regulation serves a compelling

government interest and that the regulation is the least restrictive means of accomplishing that

interest. UTAH CODE ANN. § 63G-33-201(3). The court credits the testimony of Plaintiffs’

witnesses, finding that Plaintiffs are likely to be able to show a substantial burden on the exercise

of their beliefs about psylocibin, that those beliefs are sincere, and that those beliefs are religious

in the way that the law conceptualizes religion. The court also finds that the government has not

shown a compelling interest in prohibiting Singularism from using psylocibin outright and

accordingly has not carried its burden.

       Defendants claim that the court does not have jurisdiction over the action because Plaintiffs

have not satisfied the 60-day notice requirement in the Utah RFRA. See id. § 63G-33-201(5)(a).

The court finds that Plaintiffs satisfy the requirements for the exception for “ongoing” government

action, id. § 63G-33-201(5)(b)(i). The deprivation of their psylocibin and records is ongoing, and

requiring Plaintiffs to wait until the 60-day window passes would impose an “undue hardship,” id.




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       The court also finds that Plaintiffs have shown that they will suffer irreparable harm absent

preliminary relief. The ongoing deprivation of their psylocibin and scripture hinders their free

exercise of religion, and no amount of damages later can fully compensate for this harm.

       Finally, the court also finds that the balance of the equities favors Plaintiffs. The

government has identified no harm to either Plaintiffs or society more broadly from Plaintiffs’

sacramental use of psylocibin.

       Accordingly, the court GRANTS Plaintiffs’ motion for a TRO. Defendants are

ORDERED to return the psylocibin and records seized on November 11 to Plaintiffs as soon as

possible. This TRO shall remain in place until the court either dissolves it or converts it into a

preliminary injunction. If Defendants wish to present further evidence or argument for the court to

consider in ruling on the motion for preliminary injunction, they may request the court no later

than December 20 to schedule another hearing.

       So ordered December 13, 2024.

                                             BY THE COURT



                                             ______________________________
                                             Jill N. Parrish
                                             United States District Court Judge




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